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  AO 91 (Rev. 08/09) Criminal Complaint


                                          UNITED STATES DISTRICT COURT
                                                               for the
                                                     District
                                                __________    of Columbia
                                                           District of __________

                   United States of America                      )
                               v.                                )
                   MUSTAFA MUHAMMAD                              )       Case No.
                   MUFTAH AL-IMAM                                )
                                                                 )
                                                                 )

                             Defendant
                                (s)

                                                   CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date of September 11, 2012, through September 12, 2012, in Libya and, therefore, outside of the
jurisdiction of any particular state or district of the United States, but within the extraterritorial jurisdiction of the United
States and, pursuant to Title 18, Code, Section 3238, within the venue of the United States District Court for the District of
Columbia, the defendant(s) violated:


              Code Section                                                 Offense Description

  18 U.S.C. §§ 930(c) and 2                   - Killing a Person in the Course of Attack on a Federal Facility Involving the
                                              Use of a Firearm and Dangerous Weapon, and Attempting and Conspiring to
                                              Do the Same;
  18 U.S.C. §§ 2339A and 2                    - Providing, Attempting and Conspiring to Provide Material Support to
                                              Terrorists Resulting in Death;
  18 U.S.C. §§ 924(c)(1) and 2                - Discharging, Brandishing, Using, Carrying and Possession of a Firearm
                                              During and in Relation to a Crime of Violence


            This criminal complaint is based on these facts:
  See attached Affidavit in Support of a Criminal Complaint and Arrest Warrant



             Continued on the attached sheet.



                                                                                     Complainant’s signature

                                                                            Special Agent Michael M. Clarke
                                                                                     Printed name and title

  Sworn to before me and signed in my presence.


  Date:    5/19/2015
                                                                                             Judge’s signature

City and state:
